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B 210A (Form 210A) (12/09)


                         UNITED STATES BANKRUPTCY COURT
                                                 Northern District of Georgia

In re: Sharon Winston
                                                                                                  Case No. 15-66160




                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



LCS Capital, LLC                                                             SallieMae

         Name of Transferee                                                             Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known): 2-1
should be sent:                                                             Amount of Claim: $24,725.67

LCS Capital LLC
C/O LCS Financial Services Corporation                                      Date Claim Filed: 7/22/2015
6782 S. Potomac St. Ste 100
Centennial, CO 80112

Phone: 866-662-9087                                                          Phone: NA

Last Four Digits of Acct #: 8139                                             Last Four Digits of Acct. #:8139

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:      /s/Renee L Brinkley                                                  Date: January 22, 2020
           Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
